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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


  BRIGHT DATA LTD.

                 Plaintiff,

         v.                                           Case No. 2:21-CV-00225-JRG-RSP

  NETNUT LTD.
                 Defendant.                           JURY TRIAL DEMANDED




     OPPOSED MOTION TO EXTEND THE DEADLINE FOR AMENDING INFRINGEMENT
                   CONTENTIONS IN THE DISCOVERY ORDER

         Bright Data respectfully requests the Court extend the deadline for amending infringement

  contentions to February 4, 2022, to permit Bright Data time to fully review NetNut’s source code

  and amend Bright Data’s contentions given the upcoming holidays. On December 14, NetNut

  informed Bright Data that its code is available for review, but Bright Data’s code reviewer cannot

  begin his review until January 5 due to the holidays and his work schedule. Bright Data requested

  NetNut agree for the 30 days the Court allows for code review and amending contentions to begin

  January 5. But NetNut rejected this proposal instead offering only a five day extension of the

  deadline. An additional five days is insufficient time for complete code review and amending

  contentions for five asserted patents and two accused systems as this would only allow 13 days

  from the start of code review until infringement contentions are due. Accordingly, Bright Data

  respectfully requests the Court extend the current deadline for amending infringement contentions

  from January 13, 2022, to February 4, 2022. NetNut opposes this Motion.

         Paragraph 3(a)(i) of the Discovery Order, Dkt. No. 57, provides:




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         If a party claiming patent infringement asserts that a claim element is a software
         limitation, the party need not comply with P.R. 3-1 for those claim elements until
         30 days after source code for each Accused Instrumentality is produced by the
         opposing party. Thereafter, the party claiming patent infringement shall identify,
         on an element-by-element basis for each asserted claim, what source code of each
         Accused Instrumentality allegedly satisfies the software limitations of the asserted
         claim elements.

  As the claim elements of the asserted claims are software limitations, Bright Data currently has,

  under the Discovery Order, until January 13, to complete its review of NetNut’s source code and

  amend its infringement contentions for each of the five asserted patents and the two accused

  systems. Because Bright Data’s reviewer cannot begin until January 5 due to the holidays and his

  work schedule, Bright Data seeks an extension for amending its infringement contentions to

  February 4, which is 30 days after its reviewer can begin reviewing the source code. The proposed

  change will not affect any other deadlines and will not impact the Parties’ discovery efforts as fact

  discovery does not close until April 13, and NetNut’s rebuttal expert reports are not due until May

  18.

         The five additional days NetNut proposed for an extension is inadequate time for Bright

  Data to thoroughly review the code, resolve issues with the code production, and amend

  infringement contentions based on this code for five asserted patents and two accused systems.1

  NetNut also argues it is somehow prejudiced by this extension. But NetNut cannot show how an

  additional 17 days beyond the extension NetNut offered prejudices NetNut, particularly as

  NetNut’s rebuttal expert reports are not due for almost six months.




  1
    NetNut also argues that some of the source code is the same as in prior litigation and Bright Data
  is using the same reviewer. But whether the reviewer had access to some of code before is
  irrelevant. The reviewer would still need to review all of the code as this case may involve different
  aspects of the code from prior litigation given the five different asserted patents and additional
  accused system in the current litigation.


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         Bright Data’s requested extension is reasonable in view of the holidays, the reviewer’s

  schedule, and the significant work involved in source code review and amending infringement

  contentions. Accordingly, Bright Data respectfully requests the Court extend the deadline for

  Bright Data to amend its infringement contentions from January 13, 2022, to February 4, 2022.



   Dated: December 23, 2021                     By: /s/ J. Michael Woods

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                                  CERTIFICATE OF CONFERENCE

         I hereby certify that the parties have complied with the meet and confer requirement in

  Local Rule CV-7(h). On December 22, 2021, lead and local counsel for the Parties conferred via

  telephone and could not reach an agreement.

                                                /s/ J. Michael Woods



                                     CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic

  service are being served this 23rd day of December, 2021, via the Court’s CM/ECF system.



                                                /s/ J. Michael Woods




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